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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA |
                         |                              Honorable Michael A. Hammer
v.                       |                              Mag. No. 21-10076
                         |
RAUL VALDEZ, et al.      |



 JEFFREY A. DENNER NOTICE OF APPEARANCE PURSUANT TO LOCAL CRIMINAL
                               RULE 44.1

To the Clerk of this Court and all parties of record:

Enter my appearance as counsel in this case for Raul Valdez.

I hereby certify under penalty of perjury that I am a member in good standing of the bar of the
following Court(s) since the indicated year of admission and that I am not the subject of
suspension or disbarment from any Court:

Court(s):

Supreme Judicial Court of Massachusetts

United States District Court for District of Massachusetts

United States First Circuit Court of Appeals

United States Supreme Court

United States Court of Claims

United States Court of Military Appeals

and approximately 35 additional state and federal trial and appellate courts (pro hac vice)
throughout the United States

Date: October 25, 2021

Year(s) of Admission:

1973 – Supreme Judicial Court of Massachusetts
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Various years for all the additional courts

/s/ Jeffrey A. Denner
___________________________           Signature of Attorney

Jeffrey A. Denner
___________________________           Print Name

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